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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  SDN LIMITED and STEVEN NERAYOFF,                          Case No. 2:24-cv-06089-JMA-AYS

                                    Plaintiffs,
                                                            COMPLAINT
                        v.

  IOV LABS LIMITED, RIF LABS LIMITED, RSK
  LABS LIMITED, DIEGO GUTIERREZ                             JURY TRIAL DEMANDED
  ZALDIVAR, and ALEJANDRO MARIA ABERG
  COBO a/k/a ALEX COBO,

                                    Defendants.


        Plaintiffs SDN Limited (“SDN”) and Steven Nerayoff, by their attorneys Loeb & Loeb

 LLP, as and for their Complaint against Defendants IOV Labs Limited, f/k/a RIF Labs Limited,

 n/k/a Rootstock Labs Limited (“IOV”), RSK Labs Limited (“RSK”), Diego Gutierrez Zaldivar

 and Alejandro Maria Aberg Cobo a/k/a Alex Cobo, allege as follows:

                                     NATURE OF ACTION

        1.      This is an action for fraud in connection with Defendants’ unregistered offer and

 sale of Rootstock Infrastructure Framework Tokens (“RIF Tokens”). In 2018, RSK conducted the

 pre-sale and launch (via its affiliated company IOV) of the RIF Tokens. In the year leading up to

 the token launch on November 9, 2018, Defendants fraudulently induced Plaintiffs’ purchase of

 tokens in the pre-sale by falsely representing—at meetings with Mr. Nerayoff both within and

 outside of New York, and in direct phone conversations with Mr. Nerayoff in New York—that the

 proposed RIF blockchain was a fully functional second-layer blockchain solution, to be launched

 on the Bitcoin network, that had the then-existing ability to provide Ethereum-style smart contract

 capabilities and other functionality to the Bitcoin blockchain. Defendants’ representations were

 knowingly false when made. Defendants further falsely represented that the funds raised by the
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 RIF token pre-sale would be used exclusively to promote the RIF blockchain and develop its

 operating system protocol. That representation was also false: Defendants did not use the funds

 raised in the pre-sale to promote the blockchain development and, upon information and belief,

 diverted the funds to Defendants’ principals instead. Plaintiffs reasonably relied upon Defendants’

 misrepresentations to their detriment, and were wrongly induced to purchase Defendants’ RIF

 tokens (paying in Bitcoin). Following the public launch of the RIF blockchain – on the Ethereum

 network and not the Bitcoin network – Defendants’ fraud was revealed and the Bitcoin value of

 Plaintiffs’ investments declined well over 90%.

                                          THE PARTIES

        2.      Plaintiff SDN Limited is a company organized under the laws of the Cayman

 Islands.

        3.      Plaintiff Steven Nerayoff is a resident of Nassau County, New York. At all times

 relevant to this dispute, Mr. Nerayoff resided in Nassau County, New York. Mr. Nerayoff is the

 President and sole owner of Plaintiff SDN.

        4.      Defendant RSK is, upon information and belief, a company organized under the

 laws of the British Virgin Islands with a principal place of business in the British Virgin Islands.

 Upon information and belief, RSK is wholly owned by Defendant IOV.

        5.      Defendant IOV is, upon information and belief, a company organized under the

 laws of Gibraltar with a principal place of business in Gibraltar. Following RSK’s solicitation and

 pre-sale activities, RSK caused IOV to issue RIF tokens on November 9, 2018.

        6.      Defendant Diego Gutierrez Zaldivar is an individual and, upon information and

 belief, a citizen and resident of Argentina. At all times relevant hereto, Zaldivar was the Chief

 Executive Officer of RSK and a Director of IOV.




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         7.     Defendant Alejandro Maria Aberg Cobo is an individual and, upon information and

 belief, a citizen of Argentina and a resident of Uruguay. At all times relevant hereto, Cobo was an

 advisor to RSK and a Director of IOV.

                                 JURISDICTION AND VENUE

         8.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) as

 there is complete diversity of citizenship between the parties and the amount in controversy

 exceeds $75,000, exclusive of costs and interest.

         9.     The Court has personal jurisdiction over Defendants because, as detailed herein:

 (1) IOV, RSK, and Zaldivar purposely transacted business within the state related to the claims

 asserted herein; (2) IOV, RSK, and Zaldivar committed tortious acts within the state; and (3)

 Defendants, and each of them, committed tortious acts without the state causing injury to Plaintiffs

 within the state and also (a) regularly solicit business within the state and derive substantial

 revenue from within the state, and/or (b) reasonably expect their tortious acts to have consequences

 within the state and derive substantial revenue from interstate commerce. Personal jurisdiction

 over Defendant IOV is also proper because it contracted anywhere to supply goods in the state.

         10.    Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b) because, inter

 alia, a substantial part of the events giving rise to Plaintiffs’ claims occurred in this judicial

 District.

                 FACTUAL ALLEGATIONS RELEVANT TO ALL CLAIMS

         11.    Upon information and belief, RSK was founded in 2015.

         12.    In its November 19, 2015 “White Paper Overview,” RSK explained why its

 blockchain project was important for the Bitcoin ecosystem.




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          13.     RSK stated in its White Paper Overview that, although Bitcoin’s creation in 2008

 revolutionized payments, Bitcoin only included very limited implementation of “smart contracts”

 (i.e., Turig complete distributed programs).

          14.     The first blockchain incorporating full “smart contract” capability was the

 Ethereum blockchain launched in July 2015, just months before RSK published its initial White

 Paper.

          15.     At all times relevant hereto, Plaintiff Steven Nerayoff was a well-known and

 experienced consultant to companies operating in the cryptocurrency and blockchain industries,

 and was well known in the blockchain community because he had provided advice and consulting

 services in connection with the launch of Ethereum’s Ether token. Mr. Nerayoff is the President

 and sole owner of Plaintiff SDN (a company bearing his initials).

          16.     Mr. Nerayoff was first introduced via email to Defendant Zaldivar and other

 employees of RSK in December 2017, at which time RSK was planning its token pre-sale and

 public launch.

          17.     Thereafter, Zaldivar, Cobo, and other RSK employees, advisors, and/or consultants

 began to solicit Mr. Nerayoff’s investment in RSK’s token pre-sale. On February 11, 2018,

 Zaldivar wrote to Mr. Nerayoff in New York confirming that RSK wanted Mr. Nerayoff’s

 participation as an investor.

          18.     Knowing that Mr. Nerayoff resided in the State of New York, on March 24, 2018,

 RSK sent Mr. Nerayoff an email entitled “Your exclusive invitation to participate in the RSK

 Infrastructure Framework Token private sale.” As RSK explained in that email, the official name

 for the project was “RIF by RSK,” and the token would be named the “RIF Token.” Although

 RSK’s exclusive invitation email stated that RSK’s token sale would “start immediately,”

 Plaintiffs did not purchase any RIF tokens at that time.

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        19.     In May 2018, Mr. Nerayoff met Defendant Zaldivar at the Bitcoin Consensus

 conference that was held in New York City on May 14-16, 2018, as well as surrounding events in

 New York.

        20.     During the conference, on May 14th, 2018, Defendant Zaldivar gave a presentation

 in the Grand Ballroom concerning RSK, in which he touted “RSK” as a “Live,” “fully functional”

 sidechain “powered by the Bitcoin network,” and noted that the platform was “the First Public

 Smart Contract Bitcoin Sidechain.”




 See       Consensus          2018      Magazine         at       50       (available       at      <

 https://downloads.coindesk.com/events/2018/consensus/consensus-2018-magazine.pdf>).

        21.     On or about May 15, 2018, Zaldivar met with Mr. Nerayoff in New York to further

 solicit Plaintiffs’ investment in RIF tokens. In that discussion, Zaldivar falsely represented to Mr.

 Nerayoff that (i) the RIF blockchain was a fully functional and “live” sidechain; (ii) the RIF

 blockchain was launched on the Bitcoin network and brought smart contract capability to the

 Bitcoin network; and (iii) the proceeds of the token sales were to fund RSK’s marketing and

 expansion of its blockchain and promotion of the RIF operating system protocols. As to the use

 of the proceeds of the token sales, Zaldivar falsely represented to Mr. Nerayoff that RSK had a

 strategic partnership in place with Bitclub. Defendants, however, never publicly announced a

 strategic partnership with Bitclub, nor did Bitclub, and, upon information and belief, the strategic

 partnership never existed.




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        22.       Separately, following the Bitcoin Consensus conference, in the latter half of May

 2018, Defendant Cobo contacted Mr. Nerayoff in New York to facilitate Plaintiffs’ investments in

 RIF tokens. Cobo similarly falsely represented to Mr. Nerayoff that the RIF blockchain was a

 Bitcoin sidechain that provided Turig complete smart contracts to the Bitcoin network.

        23.       At the time Defendants made the foregoing representations, and others, upon which

 Plaintiffs reasonably relied, Defendants knew that the RIF blockchain had no such smart contract

 functionality.

        24.       Zaldivar, Cobo, and other employees of RSK and IOV advised Plaintiffs in the

 latter half of May 2018 that Plaintiffs’ proposed purchase of RIF tokens should be made from

 certain non-parties to which Defendants directed Plaintiffs, and not directly from Defendants.

        25.       Nonetheless, Defendants solicited and induced Plaintiffs to make these token

 purchases from specific non-parties, and were aware that Plaintiffs were making these purchases

 in reliance upon Defendants’ misrepresentations.

        26.       By way of example only, on May 21, 2018, Zaldivar texted Nerayoff in New York

 that “I [Zaldivar] preserved allocation for you [Nerayoff],” thus confirming Defendants’ awareness

 of Plaintiffs’ investments.

        27.       Plaintiffs reasonably relied upon Defendants’ representations made in connection

 with their offering of RIF tokens and, in detrimental reliance thereon, made a series of purchases

 of RIF tokens in the pre-launch pre-sale, both via SDN and Mr. Nerayoff personally. In total,

 Plaintiffs purchased 14,753,200 RIF tokens (with the right to receive certain additional bonus

 tokens) in exchange for 1,555 Bitcoin.

        28.       More specifically, in reasonable reliance upon the statements of Zaldivar, Cobo,

 and other employees of RSK and IOV Plaintiffs engaged in the following transactions:

                  a)   on May 29, 2018, Mr. Nerayoff caused SDN to purchase 1,707,300 RIF

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                      tokens for 170.73 Bitcoin;
                b)    on May 30, 2018, SDN purchased another 2,770,900 RIF tokens for 227.09
                      BTC;
                c)    in or around May and June 2018, SDN engaged in additional pre-sale token
                      purchases: 1,540,000 RIF tokens for 176 Bitcoin; 1,092,000 RIF tokens for
                      130 Bitcoin; 840,000 RIF tokens for 110 Bitcoin; 1,40,000 RIF tokens for 170
                      Bitcoin; 1,680,000 RIF tokens for 205 Bitcoin; 630,000 RIF tokens for 81
                      Bitcoin; 133,000 RIF tokens for 15.20 Bitcoin; and 160,000 RIF tokens for
                      20 Bitcoin; and
                d)    on June 19, 2018, Mr. Nerayoff personally purchased 2,800,000 RIF tokens
                      directly from IOV, transferring 200 Bitcoin to a digital wallet controlled by
                      IOV (then-know as RIF Labs) as payment therefor.
        29.     In a text message that Zaldivar later sent to Mr. Nerayoff in New York, Zaldivar

 acknowledged Mr. Nerayoff’s purchase of RIF tokens in his personal capacity.

        30.     Defendants publicly launched the RIF blockchain on November 9, 2018.

        31.     Contrary to Defendants’ representations to Plaintiffs, the RIF blockchain was not

 launched as a Bitcoin sidechain. Instead, Defendants’ RIF blockchain was launched on the

 Ethereum network.

        32.     Separately, but similarly contrary to Defendants’ representations to Plaintiffs, the

 RIF blockchain that was ultimately launched by Defendants had no ability to provide smart

 contract functionality to the Bitcoin network.

        33.     When the truth was exposed, Plaintiffs’ investments in RIF tokens lost over 90%

 of their Bitcoin value.

        34.     Further, contrary to Defendants’ representations that the funds raised by the RIF

 token sale would be used exclusively for the promotion and development of the RIF operating

 system protocol, the raised funds were not so used. Rather, Defendants diverted such funds to

 enrich themselves and for matters unrelated to the RIF blockchain.




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        35.     By way of example only, in September 2019, RSK used investor funds to purchase

 a social media network, Taringa, an entity founded and owned by certain of the same founders as

 IOV. Thus, the acquisition was merely a mechanism to enrich IOV’s founders at the expense of

 investors.

                                    FIRST CAUSE OF ACTION
                                    Fraud – Against RSK & IOV

        36.     Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 35 of

 this Complaint as if fully set forth herein.

        37.     Defendants RSK and IOV, via their officers, directors and employees, including

 Defendants Zaldivar and Cobo, made numerous material misrepresentations of fact in connection

 of their soliciting of Plaintiffs’ investments and purchase of RIF tokens, including representations

 to Mr. Nerayoff that the RIF blockchain was a fully functional Bitcoin sidechain that would bring

 Ethereum-like full smart contract capability to the Bitcoin network; that Defendants had entered

 into key strategic partnerships, including with Bitclub; and that the funds raised by the RIF token

 pre-sale, including Plaintiffs’ investments, would be used exclusively for the promotion of the RIF

 blockchain and the development of its operating system protocol. In reality, these representations

 were false, knowingly false when made, and made for the purpose of inducing Plaintiffs’

 investments in RIF tokens that Defendants intended to divert (and did divert) to their principals.

        38.     Defendants knew that their representations to Plaintiffs were false and material at

 the time the representations were made, and had reason to expect and intended to make these

 misrepresentations in order to deceive and to induce Plaintiffs to rely on them and invest in

 Defendants’ RIF tokens. Far different from the representations made by Defendants to Plaintiffs

 at the time, Defendants were in possession of accurate information that they intentionally and

 knowingly failed to communicate to, and withheld from, Plaintiffs.



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        39.     Plaintiffs reasonably relied on Defendants misrepresentations, including

 misrepresentations made to Plaintiffs by Zaldivar and Cobo, and Plaintiffs were thus wrongly and

 fraudulently induced to purchase millions of RIF tokens in exchange for 1,555 Bitcoin.

        40.     But for Defendants’ fraudulent misrepresentations, concealment and failure to

 disclose true facts concerning the RIF blockchain and its functional abilities, Plaintiffs would not

 have purchased RIF tokens, and would not have paid 1,555 Bitcoin therefor, which funds

 Defendants, upon information and belief, ultimately received.

        41.     Plaintiffs could not, and did not discover Defendants’ fraud until Defendants

 publicly launched the RIF blockchain on November 9, 2018.                Contrary to Defendants’

 representations to Plaintiffs that the RIF blockchain would be launched on the Bitcoin network as

 a fully-functional sidechain to Bitcoin and providing smart contract capability to the Bitcoin

 network, Defendants launched the RIF blockchain on the Ethereum network and it had no ability

 to provide smart contract capabilities to the Bitcoin network. Defendants’ representations that it

 had entered into a strategic partnership with Bitclub was similarly false. Finally, Defendants’

 representations that the funds raised by the RIF token pre-sale would be used exclusively to

 promote the RIF blockchain and develop its operating system protocol was similarly false, and

 investor funds were diverted, upon information and belief, to Defendants and their principals.

        42.     As a direct and proximate result of Defendants’ fraud, Plaintiffs’ investments in

 RIF tokens lost over 90% of their Bitcoin value.

        43.     Based upon Defendants’ fraud, Plaintiffs are entitled to the rescission of their

 investments in RIF tokens and the return of their 1,555 Bitcoin.

        44.     In the alternative, Plaintiffs sustained damages directly and proximately caused by

 reason of their reliance upon Defendants’ misrepresentations of fact, in an amount to be proven at




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 trial but reasonably believed to be in excess of the jurisdictional requirement. Defendants RSK

 and IOV are jointly and severally liable to Plaintiffs for such damages.

        45.     Further, given Defendants’ lies, and willful deceit and diversion of Plaintiffs’

 investments, Plaintiffs are entitled to an award of exemplary and punitive damages in an amount to

 be proven and determined at trial.

                                  SECOND CAUSE OF ACTION
                                 Fraud – Against Zaldivar & Cobo

        46.     Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 45 of

 this Complaint as if fully set forth herein.

        47.     Defendants Zaldivar and Cobo made numerous material misrepresentations of fact

 in connection of their soliciting of Plaintiffs’ investments and purchase of RIF tokens, including

 representations to Mr. Nerayoff that the RIF blockchain was a fully functional Bitcoin sidechain

 that would bring Ethereum-like full smart contract capability to the Bitcoin network; that

 Defendants had entered into key strategic partnerships, including with Bitclub; and that the funds

 raised by the RIF token pre-sale, including Plaintiffs’ investments, would be used exclusively for

 the promotion of the RIF blockchain and the development of its operating system protocol. In

 reality, these representations were false, knowingly false when made, and made for the purpose of

 inducing Plaintiffs’ investments in RIF tokens that Defendants intended to divert (and did divert)

 to the principals of RSK and IOV.

        48.     Defendants Zaldivar and Cobo knew that their representations to Plaintiffs were

 false and material at the time the representations were made, and had reason to expect and intended

 to make these misrepresentations in order to deceive and to induce Plaintiffs to rely on them and

 invest in Defendants’ RIF tokens. Far different from the representations made by Defendants to




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 Plaintiffs at the time, Defendants were in possession of accurate information that they intentionally

 and knowingly failed to communicate to, and withheld from, Plaintiffs.

        49.     Plaintiffs reasonably relied on Defendants Zaldivar and Cobo’s misrepresentations,

 and Plaintiffs were thus wrongly and fraudulently induced to purchase millions of RIF tokens in

 exchange for 1,555 Bitcoin.

        50.     But for Defendants Zaldivar and Cobo’s fraudulent misrepresentations,

 concealment and failure to disclose true facts concerning the RIF blockchain and its functional

 abilities, Plaintiffs would not have purchased RIF tokens, and would not have paid 1,555 Bitcoin

 therefor, which funds Defendants, upon information and belief, ultimately received.

        51.     Plaintiffs could not, and did not discover Defendants Zaldivar and Cobo’s fraud

 until Defendants publicly launched the RIF blockchain on November 9, 2018. Contrary to

 Defendants’ representations to Plaintiffs that the RIF blockchain would be launched on the Bitcoin

 network as a fully-functional sidechain to Bitcoin and providing smart contract capability to the

 Bitcoin network, Defendants launched the RIF blockchain on the Ethereum network and it had no

 ability to provide smart contract capabilities to the Bitcoin network. Defendants’ representations

 that it had entered into a strategic partnership with Bitclub was similarly false.          Finally,

 Defendants’ representations that the funds raised by the RIF token pre-sale would be used

 exclusively to promote the RIF blockchain and develop its operating system protocol was similarly

 false, and investor funds were diverted, upon information and belief, to Defendants and their

 principals.

        52.     As a direct and proximate result of Defendants Zaldivar and Cobo’s fraud,

 Plaintiffs’ investments in RIF tokens lost over 90% of their Bitcoin value.

        53.     Based upon Defendants Zaldivar and Cobo’s fraud, Plaintiffs are entitled to the

 rescission of their investments in RIF tokens and the return of their 1,555 Bitcoin.

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        54.     In the alternative, Plaintiffs sustained damages directly and proximately caused by

 reason of their reliance upon Zaldivar and Cobo’s misrepresentations of fact, in an amount to be

 proven at trial but reasonably believed to be in excess of the jurisdictional requirement. Defendants

 Zaldivar and Cobo are jointly and severally liable to Plaintiffs for such damages.

        55.     Further, given Zaldivar and Cobo’s lies, and willful deceit and diversion of

 Plaintiffs’ investments, Plaintiffs are entitled to an award of exemplary and punitive damages in an

 amount to be proven and determined at trial.

                              THIRD CAUSE OF ACTION
       Aiding and Abetting Fraud – Against Zaldivar & Cobo (Pled in the Alternative)

        56.     Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 55 of

 this Complaint as if fully set forth herein.

        57.     In the alternative to the Second Cause of Action, Plaintiffs allege as follows.

        58.     As detailed above, Defendants RSK and IOV engaged in wrongdoing by

 fraudulently inducing Plaintiffs to invest in RIF tokens during Defendants pre-sale.

        59.     Defendants Zaldivar and Cobo each had actual knowledge of, and actively

 participated in, the fraud perpetrated by Defendants RSK and IOV because, inter alia, Defendants

 Zaldivar and Cobo made the misrepresentations set forth herein.

        60.     Both Zaldivar and Cobo made the misrepresentations set forth herein intending to

 deceive Plaintiffs, and intending that Plaintiffs rely on such misrepresentations, which Plaintiffs

 justifiably did, to their detriment in purchasing RIF tokens during Defendants’ pre-sale.

        61.     Based on the foregoing allegations in the Complaint, Zaldivar and Cobo each knew

 that the material representations were made, that such representations were false, and intentionally

 omitted material facts that would have otherwise made the representations not false or misleading.

 Indeed, there can be no dispute that Zaldivar and Cobo (at a minimum) provided substantial



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 assistance to advance the fraudulent scheme because, inter alia, they were officers, advisors and/or

 directors of RSK or IOV, and made the fraudulent representations directly to Plaintiffs.

        62.     Zaldivar and Cobo each actually knew that Plaintiffs had reasonably and justifiably

 relied to their detriment on the misrepresentations and fraud alleged herein.

        63.     Zaldivar and Cobo each intended to and in fact did act with the intent of materially

 facilitating the commission of the fraud.

        64.     Accordingly, in the alternative to the Second Cause of Action, Zaldivar and Cobo

 each are liable to Plaintiffs for aiding and abetting fraud because they each gave substantial

 assistance to that fraud, as well as encouragement to the others acting on behalf of RSK and IOV

 in effectuating, and committing an overt act in furtherance of, the fraud upon Plaintiffs.

        65.     As a direct and proximate result of Zaldivar’s and Cobo’s aiding and abetting the

 fraud committed against Plaintiffs, Plaintiffs have sustained damages in the amount to be proven

 at trial but reasonably believed to be in excess of the jurisdictional requirement. Zaldivar and

 Cobo are jointly and severally liable to Plaintiffs.

        66.     Further, given Zaldivar’s and Cobo’s lies, deceit and diversion of Plaintiffs’

 investments, Plaintiffs are further entitled to an award of exemplary and punitive damages in an

 amount to be proven and determined at trial.

                                 DEMAND FOR A JURY TRIAL

        Plaintiffs hereby demand a trial by jury as to all matters so triable.




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                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs SDN Limited and Steven Nerayoff respectfully request

 judgment against Defendants:

        a)     For rescission of Plaintiffs’ investments and the return of Plaintiffs’ 1,555 Bitcoin;

        b)     In the alternative, for monetary damages sustained as a result of each Defendants’

      wrongful conduct, including interest thereon (both pre-and post-judgment), and that such

      monetary damages include all compensatory, expectancy, exemplary, punitive and all other

      types of monetary damages as available;

        c)     For pre-judgment and post-judgment interest;

        d)     For costs and disbursements incurred in connection with this action; and

        e)     For such further and other relief as the Court may determine warranted.

 Dated: New York, New York
        November 5, 2024
                                              LOEB & LOEB LLP


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